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                                  UNITED STATES DISTRICT COURT
                              FOR THE WESTERN DISTRICT OF VIRGINIA
                                         Lynchburg Division


  LEAGUE OF WOMEN VOTERS OF
  VIRGINIA;      KATHERINE    D.
  CROWLEY;     SEIJRA   TOOGOOD;
  GAYLE     HARDY;    CAROL   D.
  PETERSEN; and TRACY SAFRAN,                             Case No.: 6:20-cv-00024-NKM

                      Plaintiffs,                         SECOND AMENDED COMPLAINT FOR
                                                          INJUNCTIVE AND DECLARATORY
               v.                                         RELIEF

  VIRGINIA      STATE      BOARD        OF
  ELECTIONS; ROBERT H. BRINK,
  JOHN O’BANNON, and JAMILAH D.
  LECRUISE, in their official capacities as
  Chairman, Vice-Chair, and Secretary of
  the Virginia State Board of Elections,
  respectively; and CHRISTOPHER E.
  PIPER, in his official capacity as
  Commissioner of the Virginia Department
  of Elections,

                      Defendants.



          1.        Virginia Attorney General Mark Herring recently said that “[f]ree and fair

  elections are at the core of our democracy and no Virginian should have to choose between their

  health and exercising their right to vote.” 1 Plaintiffs League of Women Voters of Virginia,

  Katherine Crowley, and Seijra Toogood agree. Yet Virginia’s requirement that each voter

  submitting a mail absentee ballot have another individual witness and sign their ballot envelope



  1
    Press Release, Ralph Northam, Governor of Virginia, Governor Northam Announces Plans to Postpone Upcoming
  Virginia Elections in Response to COVID-19 (Apr. 8, 2020), https://www.governor.virginia.gov/newsroom/all-
  releases/2020/april/headline-855995-en.html.
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  does exactly that: presents tens of thousands of Virginia voters like Plaintiffs with the Hobson’s

  choice of either risking their health to vote or not voting at all.

          2.      Plaintiffs therefore bring this action challenging the constitutionality of Virginia’s

  witness requirement on absentee ballots to preserve their and many other Virginians’

  fundamental right to vote in the midst of the pandemic of a respiratory disease known as the

  coronavirus disease 2019 (“COVID-19”), caused by the spread of a novel coronavirus, SARS-

  CoV-2. Without relief, the extreme burden the witness requirement places on voters in the

  current environment far outweighs any marginal benefit to the Commonwealth in retaining it.

          3.      The “United States is now the ‘epicenter’ of the global pandemic and has far more

  confirmed COVID-19 cases than any other nation.” 2 The Centers for Disease Control and

  Prevention (“CDC”) and the Virginia Department of Health have both urged people to avoid

  coming within six feet of individuals with whom they do not reside, as a key to both slowing the

  spread of the virus and keeping individuals healthy. As such, Governor Ralph Northam has

  ordered that all Virginians remain at home except for the basic necessities through at least June

  10, 2020. 3

          4.      In the midst of this crisis and especially during a stay-at-home mandate, Virginia’s

  requirement that every individual filling out an absentee ballot find another adult to witness their

  filling out of the ballot and sign on their ballot envelope alongside the voter’s own signed

  attestation amounts to an unconstitutional burden on the right to vote. This is certainly true for



  2
   General Order No. 2020-11, In re: Court Operations Under the Exigent Circumstances Created by the Outbreak of
  Coronavirus Disease (COVID-19): Temporary Policy for Remote Proceedings and Public Access to Such
  Proceedings (hereinafter “In re Court Operations”), Case No. 2:20mc7 (E.D. Va. Apr. 6, 2020).
  3
   See Va. Executive Order No. 2020-55, https://www.governor.virginia.gov/media/governorvirginiagov/executive-
  actions/EO-55-Temporary-Stay-at-Home-Order-Due-to-Novel-Coronavirus-(COVID-19).pdf


                                                            2
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  Virginia’s federal office primaries in June, and will likely be true for voting in the November

  general election as well.

            5.     The COVID-19 outbreak means that the witness requirement will disenfranchise

  many thousands of Virginians like the individual Plaintiffs who cannot risk contact with other

  individuals to vote in person or obtain a witness signature on their absentee ballot. Over a quarter

  of Virginians age 18 and over live by themselves, and almost a third of Virginians over 65 years

  of age—one of the groups most vulnerable to COVID-19—live alone. 4 And the impact of this

  requirement will also fall more heavily on Virginians with disabilities and African Americans,

  who both live alone in larger percentages than the population as a whole. 5

            6.     The witness requirement mostly directly and disproportionately harms African

  Americans during the COVID-19 pandemic, though, because they face greater rates of severe

  health complications and death from COVID-19. Virginia’s history of voting-related

  discrimination against African Americans, as well as continuing discrimination in areas such as

  education, employment, and health, interacts with the witness requirement to hinder their ability

  to participate effectively in the political process in violation of Section 2 of the Voting Rights

  Act.

            7.     Over half a million Virginians cast ballots in the June 2018 Democratic and

  Republican primaries, and over 3.98 million Virginians cast ballots in the November 2016

  general election. The Virginians who live alone and would have otherwise voted in the upcoming

  elections but will not, or those whose absentee ballots will be rejected, will therefore likely


  4
   2018 Current Population Survey, U.S. Census Bureau, statistics accessed by using the Census Bureau Current
  Population Survey Table Creator tool at https://www.census.gov/cps/data/cpstablecreator.html.
  5
      Id.


                                                             3
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  number in the tens of thousands, if not hundreds of thousands, given the likely explosion of

  voting by mail this year.

          8.      The witness requirement is not worth this massive disenfranchisement of Virginia

  voters and its disproportionate harm to elderly voters, African American voters, and voters with

  disabilities. While election integrity is an important interest, the witness requirement does very

  little if anything—and it is certainly not narrowly tailored—to serve this interest in light of the

  many other provisions of Virginia law that safeguard absentee voting and penalize those who

  abuse the process. The fact that Virginia is one of only 11 states that require an individual

  submitting an absentee ballot to have a witness sign their ballot envelope further underscores the

  requirement’s lack of necessity. Regardless, whatever additional marginal benefits the witness

  requirement may offer, such benefit is greatly outweighed by the risk of disenfranchisement. The

  lack of an opportunity to cure a missing witness signature further compounds the burden.

          9.      Plaintiffs therefore ask that the Court enjoin Virginia’s absentee witness

  requirement and declare it unconstitutional and in violation of Section 2 of the Voting Rights Act

  for this year’s elections.

                                                  PARTIES

          10.     Plaintiff Katherine D. Crowley is a resident of Lexington, Virginia, where she is a

  registered voter. She has been a Virginia registered voter for many years and has consistently

  voted in both state and federal elections. She lives in Virginia’s Sixth congressional district,

  where there is no congressional primary this year, but she intends to vote in the November 2020

  general election.

          11.     Because of the COVID-19 outbreak, Ms. Crowley does not feel safe voting in

  person for the November election because COVID-19 community transmission will continue to

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  persist and may even have a greater resurgence during that time frame. Because of this, she

  intends to vote by absentee ballot in November and any future elections during which COVID-19

  transmission presents a risk to her health, but she lives by herself and does not feel safe finding

  an individual to witness and sign her absentee ballot envelope. This is because she not only

  intends to follow any stay-at-home order if in place and continues to practice social distancing,

  but also because she has a previous medical diagnosis that she is concerned may put her at a

  higher risk for heightened medical consequences if she contracts COVID-19. Therefore, to vote

  in November, Ms. Crowley will need to undertake the burden of finding a witness and risk her

  health if the witness requirement remains in place. If the witness requirement is lifted, she will be

  able to vote safely by absentee ballot in the November general election.

         12.     Plaintiff Seijra Toogood is a resident of Fairfax, Virginia, where she is a

  registered voter. She has been a Virginia registered voter for many years and has consistently

  voted in both state and federal elections. She lives in Virginia’s Eleventh congressional district

  and would like to vote in the June 23, 2020 primary election being held for that district.

         13.     Because of the COVID-19 outbreak, Ms. Toogood does not feel safe voting in

  person. She voted by absentee ballot for the June 23 primary and was able to do so safely

  because of the partial consent decree in this case, since she lives by herself and did not feel safe

  finding an individual to witness and sign her absentee ballot envelope. This is because she was

  not only following the Governor’s stay-at-home order and was practicing and continues to

  practice social distancing, but also because she has an underlying heart condition and asthma that

  put her at a higher risk for contracting COVID-19 and facing serious medical consequences if

  she does. Similarly, because COVID-19 community transmission will continue to persist and

  may even have a greater resurgence around the time of the November general election and she is

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  concerned about lines at the polling place as she has experienced in the past, she intends to vote

  by absentee ballot in that election. But Ms. Toogood does not feel safe finding an individual to

  witness her ballot since she lives alone and has asthma and a heart condition, so will have to risk

  her health and undergo the burden of finding a witness in order to vote in November. If the

  witness requirement is lifted, she will be able to vote safely by absentee ballot in the November

  general election and any future elections during which COVID-19 transmission presents a risk to

  her health. As a Black Virginian, Ms. Toogood is also aware of the ongoing history of voting,

  economic, and health discrimination against Black Virginians, and believes the witness

  requirement perpetuates and worsens this discrimination. And as a Fairfax NAACP member, she

  is aware of the disproportionate impact COVID-19 has had on Black Virginians and how

  maintenance of the witness requirement will harm Black Virginians disproportionately.

          14.    Plaintiff Gayle Hardy is a resident of Henrico County, Virginia, where she is a

  registered voter. She regularly votes in elections and she has done so mostly in-person in the

  past.

          15.    Because of the COVID-19 outbreak, Ms. Hardy does not feel safe voting in-

  person for the November election. She is 61 years old and has been treated for breast cancer and

  has a diagnosis of rheumatoid arthritis, both of which she understands increase her risks for

  severe consequences from COVID-19. Since the COVID-19 outbreak began, she has been

  practicing social distancing and rarely leaves her home. Therefore, she intends to vote by

  absentee ballot for the November election. Ms. Hardy lives by herself, however, so finding a

  witness for her absentee ballot during the pandemic would be both burdensome and dangerous.

  She does not know what she will do if the witness requirement is in place for the November

  election. She also is particularly concerned about the significant number of asymptomatic

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  individuals who nonetheless have COVID-19 and can transmit it, so does not believe there is a

  “safe” option for having a witness stand by for several minutes while she fills out her ballot and

  then sign her ballot envelope. Although she might consider asking her best friend to serve as a

  witness, her friend also has health problems and she does not want to put either herself or her

  friend at risk.

          16.       Plaintiff Carol D. Petersen is a resident of Arlington, Virginia, where she is a

  registered voter. She regularly votes in elections and she has done so mostly in-person in the

  past.

          17.       Because of the COVID-19 outbreak, Ms. Petersen does not feel safe voting in-

  person for the November election. She will be 64 years old in October, and has an auto-immune

  disorder as well as high-blood pressure, both of which place her at a higher risk for contracting

  COVID-19 and facing serious medical consequences if she does. Because COVID-19

  community transmission will continue to persist and may even have a greater resurgence around

  the time of the November general election, she intends to vote by absentee ballot in that election.

  Ms. Petersen lives by herself, has been teleworking full-time since mid-March, continues to

  practice social distancing, and has had very limited interactions with other people. If the witness

  requirement remains in place for the November general election, she will be forced to undertake

  significant burdens and risk her health to find an individual outside of her home to witness her

  absentee ballot.

          18.       Plaintiff Tracy Safran is a resident of Woodbridge, Virginia, where she is a

  registered voter. She regularly votes in elections and she has done so mostly in-person in the

  past.



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         19.     Because of the COVID-19 outbreak, Ms. Safran does not feel safe voting in-

  person for the November election. In recent years, her polling place has had extremely long lines,

  which further dissuade her from that option. She is in her mid-50s, lives by herself, and has had

  asthma her whole life, takes daily medication for it, and has been hospitalized for it in the past.

  She is also being treated for high blood pressure. Both of these conditions put her at a higher risk

  for serious complications from COVID-19. Since COVID-19 community transmission will

  continue to persist and may even have a greater resurgence around the time of the November

  general election, Ms. Safran would like to vote by absentee ballot in that election. But because

  she lives by herself and has strictly practiced social distancing, the witness requirement will

  force her to undertake significant burdens and risk her health to find an individual outside of her

  home to witness her absentee ballot. In fact, although Ms. Safran requested an absentee ballot for

  the June 23 primary, she ultimately did not vote in that election solely because she thought the

  witness requirement was still in place and she did not believe she could safely comply.

         20.     Plaintiff League of Women Voters of Virginia (“the League”) is a nonprofit,

  nonpartisan membership organization that was founded in 1920. Its principal address is 1011 E.

  Main Street, Ste. 214A, Richmond, VA 23219.

         21.     The League works to encourage informed and active participation in government

  and influence public policy through education and advocacy. The League supports full voting

  and representational rights for all eligible Commonwealth citizens and promotes policies that

  encourage voter participation. The League has nearly 2,000 members across Virginia, some of

  whom live alone and are vulnerable to becoming severely ill from COVID-19 because they are

  elderly and/or have underlying health conditions. Certain of these members will seek to vote



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  absentee in upcoming elections but will be unable to comply with the witness requirement

  without placing their own health at risk.

         22.     The League regularly conducts voter registration and get-out-the-vote activities

  for thousands of voters across the state, and in recent weeks it has been advocating through

  letters and calls to state officials for expanded use of absentee voting by mail and elimination of

  the witness requirement in order to better protect the health of voters and poll workers during the

  COVID-19 outbreak. The League anticipates that it will have to divert additional resources from

  its regular activities to advocate for lifting the requirement and to conduct outreach to its

  members and the voters they serve to ensure they understand and can find ways to comply with

  the requirements if possible.

         23.     Defendant Virginia State Board of Elections (the “Board”) is the regulatory

  authority authorized to make rules and regulations that, consistent with election laws, govern the

  work of local electoral boards, general registrars, and officers of election in properly

  administering elections in Virginia. Through the Department of Elections, it is also responsible

  for supervising and coordinating the work of the county and city electoral boards and registrars

  to ensure uniformity in their practices, as well as ensuring that electoral boards and general

  registrars are properly trained to carry out their duties. The Board also prescribes forms for voter

  registration and elections. See Va. Code § 24.2-103(a); Va. Code § 24.2-105. The Board sets

  standards that “tightly regulate[]” the “form of ballots used in Virginia elections.” Marcellus v.

  State Bd. of Elections, 849 F.3d 169, 172 (4th Cir. 2017).

         24.     Defendant Robert H. Brink is the Chairman of the Virginia Board of Elections. As

  Chairman, he is responsible for presiding over Board meetings and performing the functions of a



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   presiding officer. As a member of the Board, he is also one of three individuals responsible for

   the actions of the Board. 1 Va. Admin. Code 20-20-30. He is sued in his official capacity.

          25.     Defendant John O’Bannon is the Vice-Chair of the Virginia Board of Elections.

   As Vice-Chair, he is responsible for performing the Board Chairman’s duties in the Chairman’s

   absence. As a member of the Board, he is also one of three individuals responsible for the actions

   of the Board. 1 Va. Admin. Code 20-20-30. He is sued in his official capacity.

          26.     Defendant Jamilah D. Lecruise is the Secretary of the Virginia Board of Elections.

   As Secretary, she is “authorized to do all things necessary to the proper execution of the law

   creating and governing the board and in the performance of the duties imposed upon it” so long

   as they are not such as they can only be performed “by the board in its corporate capacity.” 1 Va.

   Admin. Code 20-20-30. She also has the “authority to conduct the board’s administrative and

   programmatic operations and to discharge the board’s duties consistent with specific delegations

   of authority.” 1 Va. Admin. Code 20-20-60. As a member of the Board, she is also one of three

   individuals responsible for the actions of the Board. She is sued in her official capacity.

          27.     Defendant Christopher E. Piper is the Commissioner of the Virginia Department

   of Elections (the “Department”). The Department conducts the Board’s administrative and

   programmatic activities and discharges the Board’s duties within its delegated authority. The

   Department is also responsible for administering and maintaining the Commonwealth’s voter

   registration system and overseeing registered voter list maintenance, and for providing electronic

   applications for voter registration and absentee ballots. As Commissioner, Defendant Piper is

   responsible for overseeing the day-to-day operations of the Department. He also has powers “to

   designate alternative methods and procedures to handle” absentee applications and ballots “in the

   case of an emergency that will not allow sufficient time for the distribution and handling of

                                                        10
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   absentee ballot applications and absentee ballots . . . for qualified voters who are unable to vote

   in person because of the emergency.” Va. Code § 24.2-713. He is sued in his official capacity.

                                          JURSIDICTION AND VENUE

            28.    This action arises under the First and Fourteenth Amendments to the U.S.

   Constitution as well as Section 2 of the Voting Rights Act, and is brought under 42 U.S.C.

   §§ 1983 and 1988 and authorized under 52 U.S.C. § 10302 to seek injunctive and declaratory

   relief for violations of constitutional and statutory rights under color of state law. This Court

   therefore has subject matter jurisdiction under 28 U.S.C. §§ 1331 and 1343.

            29.    This Court has personal jurisdiction over Defendants because each is either a state

   agency or sued in their official capacity as a state official, and the violations complained of

   concern their conduct in such capacities.

            30.    Declaratory relief is authorized by 28 U.S.C. §§ 2201 and 2202.

            31.    Venue in the Western District of Virginia is proper based on 28 U.S.C.

   § 1391(b)(2) because a substantial part of the events that gave rise to Plaintiffs’ claims occurred

   or will occur there, including concerning Plaintiff Crowley (City of Lexington) who resides

   there.

                                                    FACTS

   Transmission of COVID-19 and Public Health Guidelines

            32.    The novel coronavirus, SARS-CoV-2, is the virus that causes COVID-19, a

   deadly disease that is now a global pandemic. 6




   6
    Betsy McKay et al., Coronavirus Declared Pandemic by World Health Organization, WALL ST. J. (Mar. 11,
   2020, 11:59 PM), https://www.wsj.com/articles/u-s-coronavirus-cases-top-1-000-11583917794.


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           33.      According to the CDC, this coronavirus spreads aggressively and asymptomatic

   people can spread it. 7 All age groups have contracted the disease. 8 There is no vaccine, and there

   is no cure.

           34.      As of early April, the United States led the world in the total number of COVID-

   19 cases, surpassing even China and Italy before spread of the virus has even peaked. As many

   as 240,000 people in the United States may die from COVID-19 during the current outbreak,

   even accounting for existing governmental and public health interventions. 9

           35.      The World Health Organization (“WHO”) estimates that approximately 20

   percent of those infected by SARS-CoV-2 require hospitalization. 10 This is because COVID-19

   can severely damage lung tissue, cause a permanent loss of respiratory capacity, and also damage

   tissues in the kidney, heart, and liver. 11

           36.      Despite some initial comparisons to seasonal influenza, estimates from early

   March put the fatality rate for people infected with COVID-19 at approximately ten times higher

   than even a severe flu season, including in countries with advanced health care systems. 12




   7
    Centers for Disease Control and Prevention, How Coronavirus Spreads, https://www.cdc.gov/coronavirus/2019-
   ncov/prevent-getting-sick/how-covid-spreads.html (last visited Apr. 15, 2020).
   8
    Robert Verity, PhD., et al., Estimates of the Severity of Coronavirus Disease 2019: A Model-Based Analysis,
   Lancet Infec Dis (March 30, 2020), 6.
   9
     Rick Noack, et al., White House Task Force Projects 100,000 to 240,000 Deaths in U.S., Even With Mitigation
   Efforts, WASH. POST (April 1, 2020, 12:02 am), https://www.washingtonpost.com/world/2020/03/31/coronavirus-
   latest-news/.
   10
     World Health Organization, Q&A on Coronaviruses (COVID-19), “Should I Worry About COVID-19?,”
   https://www.who.int/news-room/q-a-detail/q-a-coronaviruses.
   11
    Centers for Disease Control and Prevention, Interim Clinical Guidance for Management of Patients with
   Confirmed Coronavirus Disease (COVID-19), https://www.cdc.gov/coronavirus/2019-ncov/hcp/clinical-guidance-
   management-patients.html (last visited Apr. 15, 2020).
   12
     Betsy McKay, Coronavirus vs. Flu Which Virus is Deadlier, WALL ST. J. (Mar. 10, 2020, 12:49 PM),
   https://www.wsj.com/articles/coronavirus-vs-flu-which-virus-is-deadlier-11583856879.


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           37.      While people of all ages have contracted and died from COVID-19, it is

   particularly fatal for older individuals. Preliminary reports based on WHO data show a 3.6%

   mortality rate for individuals between 60-69 years old, an 8% mortality rate for those 70-79 years

   old, and a 14.8% mortality rate for those who are 80 years old or older. 13 COVID-19 also poses

   greater risks for people with preexisting heart and respiratory conditions, individuals with

   compromised immune systems, and those with many other conditions. 14

           38.      The effects of the pandemic on social life will last well into the summer of 2020,

   if not much longer. While there is some reason to believe that transmission may taper somewhat

   in the summer months, experts have indicated that COVID-19 “will face less immunity and thus

   transmit more readily even outside of the winter season,” and that season changes are “unlikely

   to stop transmission.” 15 Further, even those who develop an immune response to the virus after

   an infection are not necessarily safe from reinfection, as we do not yet have sufficient data about

   how long immunity to the virus will last.16 This week, Dr. Anthony Fauci, head of the National




   13
    Centers for Disease Control and Prevention, Interim Clinical Guidance for Management of Patients with
   Confirmed Coronavirus Disease (COVID-19), https://www.cdc.gov/coronavirus/2019-ncov/hcp/clinical-guidance-
   management-patients.html (last visited Apr. 15, 2020).
   14
     Centers for Disease Control and Prevention, Groups at Higher Risk of Severe Illness,
   https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/groups-at-higher-risk.html (last visited Apr. 15,
   2020).
   15
    Marc Lipsitch, DPhil, Professor of Epidemiology and Director, Center for Communicable Disease Dynamics,
   Harvard T.H. Chan School of Public Health, Seasonality of SARS-CoV-2: Will COVID-19 go away on its own in
   warmer weather?, https://ccdd.hsph.harvard.edu/will-covid-19-go-away-on-its-own-in-warmer-weather/.
   16
     Apoorva Mandavilli and Katie Thomas, Will an Antibody Test Allow Us to Go Back to School or Work?, N.Y.
   TIMES (Apr. 11, 2020), https://www.nytimes.com/2020/04/10/health/coronavirus-antibody-test.html


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   Institute of Allergy and Infectious Diseases, said that he “can’t guarantee” in-person voting will

   be safe in November, because of a potential resurgence of COVID-19 in the fall. 17

           39.      Because there is no vaccine, social distancing measures, including maintaining at

   least six feet of space between people (as well as consistent hygiene practices), are the only

   known effective measures for protecting against transmission of COVID-19. 18 The CDC has

   issued guidance informing individuals to avoid public gatherings until at least May 15, 2020.

           40.      For this reason, the CDC has issued specific guidelines concerning voting during

   the COVID-19 pandemic. Among other things, it recommends that states “[e]ncourage voters to

   use voting methods that minimize direct contact with other people and reduce crowd size at

   polling stations” including “mail-in methods of voting if allowed in the jurisdiction.” 19

           41.      These recommendations make sense, given the relative risks of voting in person

   during the pandemic versus voting by mail. There is no evidence that SARS-CoV-2 can be

   spread through the mail, and the U.S. Postal Service has further changed their policies to

   “eliminate the requirement that customers sign our Mobile Delivery Devices for delivery” and




   17
     Jason Silverstein, Fauci says he “can’t guarantee” in-person voting in November will be safe, CBSNews.com
   (Apr. 13, 2020), https://www.cbsnews.com/news/coronavirus-fauci-says-he-cant-guarantee-in-person-voting-in-
   november-will-be-safe/?ftag=CNM-00-10aac3a.
   18
     Johns Hopkins University, Coronavirus, Social Distancing and Self-Quarantine,
   https://www.hopkinsmedicine.org/health/conditions-and-diseases/coronavirus/coronavirus-social-distancing-and-
   self-quarantine (last visited Apr. 15, 2020); Declaration of Dr. Jonathan Louis Golob at ¶ 8, ECF No. 5, Dawson v.
   Asher, 2:20-cv-00409-JLRMAT (W.D. Wash. Mar. 16, 2020).
   19
     Centers for Disease Control & Prevention, Recommendations for Election Polling Locations: Interim guidance to
   prevent spread of coronavirus disease 2019 (COVID-19) (updated Mar. 27, 2020),
   https://www.cdc.gov/coronavirus/2019-ncov/community/election-polling-locations.html.


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   now require the customer “to step back a safe distance or close the screen door/door so that they

   may leave the item in the mail receptacle or appropriate location by the customer door.” 20

           42.      In contrast, the risks of interpersonal interaction while voting have already borne

   out unfortunate results. In Illinois, a person who worked at a Chicago polling place during the

   March 17 primary died from COVID-19, 21 while another tested positive after voting in person.22

   And during Florida’s recent primary, two Broward County poll workers tested positive for

   COVID-19, one of whom was handling driver’s licenses as part of the identification verification

   process. 23

           43.      In Milwaukee and Green Bay, Wisconsin, voters experienced multi-hour waits

   and lines stretching blocks upon blocks because government officials there were unable to create

   a viable vote-by-mail process for all voters. 24 These are the opposite of constitutionally




   20
     United States Postal Service. USPS Statement on Coronavirus (Apr. 2, 2020),
   https://about.usps.com/newsroom/statements/usps-statement-on-coronavirus.htm (citing guidance from World
   Health Organization, CDC, and Surgeon General)
   21
     Mary Ann Ahern, Poll Worker at Chicago Voting Site Dies of Coronavirus, Election Officials Say, NBC CHICAGO
   (Apr. 13, 2020, 10:59 AM), https://www.nbcchicago.com/news/local/chicago-politics/poll-worker-at-chicago-
   voting-site-dies-of-coronavirus-election-officials-say/2255072/.
   22
     Gov. Pritzker Encourages Illinoisans to Vote by Mail After In-Person Voter Tests Positive for Coronavirus, NBC
   CHICAGO (Apr. 12, 2020, 6:07 PM), https://www.nbcchicago.com/news/local/gov-pritzker-encourages-illinoisans-
   to-vote-by-mail-in-upcoming-general-election/2254687/..
   23
     Anthony Man, Two Broward poll workers, including one who handled voters’ driver licenses, test positive for
   coronavirus, S. FLA. SUN SENTINEL (Mar. 26, 2020), https://www.sun-sentinel.com/coronavirus/fl-ne-broward-
   elections-poll-workers-coronavirus-20200326-wmgy775dvjc5jis2oagxlpmule-story.html.
   24
      Parker Schorr, Wisconsin’s pandemic election: Long waits, face masks as voters go to polls, THE CAP TIMES (Apr.
   8, 2020), https://madison.com/ct/news/local/govt-and-politics/wisconsin-s-pandemic-election-long-waits-face-
   masks-as-voters-go-to-polls/article_bfd2c391-f390-5364-8c14-a88b548fe017.html; Benjamin Swasey, Wisconsin
   Vote Ends As Trump Blames Governor For Long Lines, NPR (Apr. 7, 2020 12:23 PM),
   https://www.npr.org/2020/04/07/828835153/long-lines-masks-and-plexiglas-barriers-greet-wisconsin-voters-at-
   polls.


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   appropriate conditions called for in an infectious disease pandemic. 25 Virginia must not emulate

   them.

   COVID-19 in Virginia

              44.    Virginia faces a steadily rising number of COVID-19 cases. As of March 31, the

   Virginia Department of Health (“VDH”) was reporting “widespread community transmission

   across the state.” 26 And as of April 16, VDH reported 6,889 COVID-19 diagnoses in Virginia,

   resulting in 1,114 hospitalizations and 208 deaths. 27 Moreover, as of late March, “Virginia’s

   fatality rate, based on the number of known cases, is relatively higher than many other states”

   and “insufficiency of current testing suggests the likelihood that COVID-19 is substantially more

   widespread in Virginia than it appears from the official numbers.” 28 Tragically, one of the

   nation’s deadliest COVID-19 outbreaks appears to have occurred at an assisted living center in

   Richmond, where at least 45 residents have died and around 80 percent have been diagnosed as

   positive. 29

              45.    VDH has “urge[d] all Virginians to stay home and practice social distancing. If

   you have to go out for critical things like grocery shopping or medical care, stay at least 6 feet




   25
     Devi Shastri, In-person voting was likely a ‘disaster’ for Wisconsin’s efforts to flatten coronavirus curve, national
   experts say, MILWAUKEE JOURNAL SENTINEL (Apr. 8, 4:51 PM),
   https://www.jsonline.com/story/news/politics/elections/2020/04/08/coronavirus-wisconsin-election-likely-hurt-
   effort-flatten-curve/2961718001/.
   26
     Va. Dep’t of Health, COVID-19 Cases in Virginia, http://www.vdh.virginia.gov/coronavirus/ (last visited Apr. 16,
   2020).
   27
        Id.
   28
    In re Extension to Modifications of Ct. Operations: S. to Gen. Orders 2020-02 and 2020-03, No. 2:20MC7, 2020
   WL 1441770, at *1 (E.D. Va. Mar. 24, 2020).
   29
     Danielle Ivory, et al., N.Y. TIMES, Coronavirus Outbreak at Virginia Nursing Home Spirals Out of Control as 45
   Die (Apr. 14, 2020), https://www.nytimes.com/2020/04/14/us/coronavirus-nursing-homes.html.


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   away from others.” 30 It has also adopted “Guiding Principles for Community Mitigation

   Strategies” based on similar CDC guidance. Among these principles are considering “all aspects

   of a community that might be impacted, including populations most vulnerable to severe illness

   and those that may be more impacted socially or economically, and select appropriate actions,”

   and identifying “ways to ensure the safety and social well-being of groups that may be especially

   impacted by mitigation strategies, including individuals at increased risk for severe illness.” 31

              46.   Since early March, Governor Northam has also taken a series of increasingly

   aggressive actions in response to the growing threat posed by the virus, including an emergency

   declaration and numerous executive orders.

              47.   Notably, on March 12, 2020, invoking his statutory and Virginia constitutional

   authority, Governor Northam declared a State of Emergency for Virginia “to continue to prepare

   and coordinate our response to the potential spread of COVID-19, a communicable disease of

   public health threat.” 32

              48.   On March 13, he closed all Virginia K-12 schools for a minimum of two weeks,

   and eventually extended that order for the remainder of the academic year. 33




   30
        Id.
   31
     Virginia Department of Health, Schools, Workplaces & Community Locations,
   http://www.vdh.virginia.gov/coronavirus/schools-workplaces-community-locations/ (last visited Apr. 15, 2020).
   32
     Va. Exec. Order No. 2020-51 (Mar. 12, 2020),
   https://www.governor.virginia.gov/media/governorvirginiagov/governor-of-virginia/pdf/eo/EO-51-Declaration-of-a-
   State-of-Emergency-Due-to-Novel-Coronavirus-(COVID-19).pdf.
   33
     Press Release, Ralph Northam, Governor of Virginia, Governor Northam Orders All Virginia K-12 Schools
   Closed for Minimum of Two Weeks (Mar. 13, 2020), https://www.governor.virginia.gov/newsroom/all-
   releases/2020/march/headline-854442-en.html; Press Release, Ralph Northam, Governor of Virginia, Governor
   Northam Orders Statewide Closure of Certain Non-Essential Businesses, K-12 Schools (Mar. 23, 2020),
   https://www.governor.virginia.gov/newsroom/all-releases/2020/march/headline-855292-en.html.


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              49.   Governor Northam advised on March 17 that Virginians “with chronic health

   conditions or aged 65 or older should self-quarantine,” and ordered all DMV offices closed. 34 He

   also requested and the Supreme Court of Virginia granted a suspension of “non-emergency court

   proceedings in all district and circuit courts” absent specific exceptions through April 6, and

   extended and tolled non-exempted court deadlines for 21 days. 35

              50.   On March 23, Governor Northam ordered all non-essential businesses closed until

   at least April 23 and banned public gatherings of more than 10 people. 36

              51.   On March 30, Governor Northam issued a statewide “Stay at Home” order to last

   at least until June 10, directing all Virginians to stay at home except under extremely limited

   circumstances. He added: “We are in a public health crisis, and we need everyone to take this

   seriously and act responsibly. Our message to Virginians is clear: stay home. We know this

   virus spreads primarily through human-to-human contact, and that’s why it’s so important that

   people follow this order and practice social distancing.” 37




   34
     Press Release, Ralph Northam, Governor of Virginia, Governor Northam Announces New Measures to Combat
   COVID-19 and Support Impacted Virginians (Mar. 17, 2020), https://www.governor.virginia.gov/newsroom/all-
   releases/2020/march/headline-854487-en.html.
   35
        Id.
   36
     Press Release, Ralph Northam, Governor of Virginia, Governor Northam Orders Statewide Closure of Certain
   Non-Essential Businesses, K-12 Schools (Mar. 23, 2020), https://www.governor.virginia.gov/newsroom/all-
   releases/2020/march/headline-855292-en.html.
   37
     Va. Exec. Order No. 2020-55 (Mar. 30, 2020),
   https://www.governor.virginia.gov/media/governorvirginiagov/executive-actions/EO-55-Temporary-Stay-at-Home-
   Order-Due-to-Novel-Coronavirus-(COVID-19).pdf; Press Release, Ralph Northam, Governor of Virginia, Governor
   Northam Issues Statewide Stay at Home Order (Mar. 30, 2020), https://www.governor.virginia.gov/newsroom/all-
   releases/2020/march/headline-855702-en.html (emphasis added).


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            52.     Virginia received a Major Disaster Declaration from the federal government on

   April 2. 38

            53.     Just this week, researchers at the University of Virginia projected that COVID-19

   cases in Virginia may not peak until mid-August. 39

            54.     Faced with local elections in some parts of Virginia scheduled for May, and a

   primary for federal races in June, both the Governor and Elections Department have begun to

   take some steps in recognition of the dual priorities of public health and representative

   government.

            55.     For one, the Virginia Department of Elections has issued guidance that all

   registered Virginia voters may vote absentee by mail in the June primary (and May elections if

   they go forward) due to the COVID-19 outbreak by selecting reason “2A My disability or

   illness” on the ballot application. 40 Defendants have further encouraged Virginians to use this

   option, with the Department of Elections “encourag[ing] voters to protect their health during

   COVID-19 outbreak,” and noting that absentee voting for the upcoming elections “is strongly

   encouraged.” 41




   38
     Press Release, Ralph Northam, Governor of Virginia, Virginia Receives Major Disaster Declaration from Federal
   Government for COVID-19 (Apr. 2, 2020), https://www.governor.virginia.gov/newsroom/all-
   releases/2020/april/headline-855921-en.html.
   39
     Mel Leonor & Justin Mattingly, UVA researchers project mid-August peak for new COVID-19 cases in Virginia,
   RICHMOND TIMES DISPATCH (Apr. 13, 2020), https://www.richmond.com/special-report/coronavirus/uva-
   researchers-project-mid-august-peak-for-new-covid-19-cases-in-virginia/article_c4e2c008-1617-52d8-ad08-
   706abfb3d696.html.
   40
     Va. Dep’t of Elections (@vaELECT), Twitter (Mar. 23, 2020, 8:34 AM),
   https://twitter.com/vaELECT/status/1242067184521748480; Va. Dep’t of Elections, Absentee Ballots,
   https://www.elections.virginia.gov/casting-a-ballot/absentee-voting/.
   41
      Va. Dep’t of Elections, Absentee Ballots, https://www.elections.virginia.gov/casting-a-ballot/absentee-voting/
   (last visited Apr. 15, 2020).


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           56.      On April 8, Governor Northam exercised his statutory authority to move the June

   primary elections from June 9, 2020, to June 23, 2020, and requested that General Assembly

   move the May General Election and all special elections scheduled for May 5, 2020 to the

   November 3, 2020 General Election. He took these actions “to further mitigate the spread of

   COVID-19,” and for purposes of “protecting the health and safety of Virginians during this

   pandemic and ensuring our citizens can make their voices heard in a safe, fair, and uniform

   manner.” 42

           57.      This Court has taken similar steps in light of the pandemic. For example, on

   March 24, the Court extended its restriction on in-person court proceedings to “any criminal,

   civil and bankruptcy proceedings on or before May 2, 2020.” 43

   COVID-19’s Impact on African American Virginians in Light of Ongoing and Historical
   Discrimination

           58.      Nationally, the COVID-19 epidemic has had a particularly devastating effect in

   African-American communities. A recent analysis—one of the first attempts to examine the

   racial disparities of COVID-19 cases and deaths nationwide—found that, in areas where the

   demographic data has been publicly shared by government officials, African-Americans have

   made up 42% of people who have died from COVID-19, despite accounting for roughly only

   21% of the total population in these areas. 44



   ress Release, Ralph Northam, Governor of Virginia, Governor Northam Announces Plans to Postpone Upcoming
   Virginia Elections in Response to COVID-19 (Apr. 8, 2020), https://www.governor.virginia.gov/newsroom/all-
   releases/2020/april/headline-855995-en.html.
   43
     Am. Standing Order No. 2020-5, In re: Court Operations Under the Exigent Circumstances Created by COVID-
   19 (W.D. Va. Mar. 24, 2020).
   44
     Kat Stafford, et al., Outcry over racial data grows as virus slams black Americans, ASSOCIATED PRESS, (Apr. 8,
   2020), https://apnews.com/71d952faad4a2a5d14441534f7230c7c?fbclid=IwAR1plunY_qfeA2KrSU-
   PA1TuJobAwQh53a_Qlkf5dw0dWjz-iz85GA1FOt4.


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               59.      Virginia fits this trend, witnessing racially disparate patterns of serious illness and

   mortality due to COVID-19. “African Americans constitute approximately 20% of Virginia’s

   population, but make up about 30% of the total number of reported positive cases in Virginia.”45

   Public health experts believe that these statistics likely understate the racially disparate effect of

   COVID-19 in African-American communities in Virginia. For example, Dr. Robert Winn, the

   Director of the Massey Cancer Center at Virginia Commonwealth University, estimates that “[i]n

   some cases,” African Americans are “three to six times more [likely to be infected by the

   COVID-19 virus] than their white counterparts.” 46

               60.      Courtney Cogburn, an associate professor at the Columbia University School of

   Social Work, noted that “[t]here are patterns at this intersection of race and socioeconomic status

   that make it very clear this is just not a story about poverty.” That is, racial disparities in serious

   illness and death due to COVID-19 are inextricably linked to a long history and ongoing patterns

   of racial discrimination against African Americans:

               A history of systemic racism and inequity in access to health care and economic
               opportunity has made many African Americans far more vulnerable to the virus.
               Black adults suffer from higher rates of obesity, diabetes and asthma, which make
               them more susceptible, and also are more likely to be uninsured. They also often
               report that medical professionals take their ailments less seriously when they seek
               treatment. 47



   45
     Nana-Séntuo Bonsu, Disproportionate numbers appearing in African American COVID-19 cases in Virginia;
   doctor explains, WKTR (Apr. 10, 2020), https://www.wtkr.com/news/disproportionate-numbers-appearing-in-
   african-african-covid-19-cases-in-virginia-doctor-explains; see also Elizabeth Thomas & Dr. Nancy A. Anoruo,
   Coronavirus is disproportionately killing the black community. Here’s what experts say can be done about it, ABC
   NEWS (Apr. 9, 2020), https://abcnews.go.com/Politics/coronavirus-disproportionately-killing-black-community-
   experts/story?id=70011986.
   46
     Matthew Fultz, African Americans 3 to 6 times more likely to get COVID-19, expert says, WTVR (last updated
   Apr. 13, 2020), https://www.wtvr.com/news/coronavirus/african-americans-3-to-6-times-more-likely-to-get-covid-
   19-expert-says.
   47
        See supra n. 44 (Stafford, et al.).


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              61.      Virginia has long experienced patterns of racial discrimination in health and

   socioeconomic life patterns that render African-American Virginians at greater risk of severe

   health complications from COVID-19. As Governor Northam has acknowledged,

              We know that long-standing racial inequities in things like access to health care,
              education, and economic opportunities lead to differences in underlying health
              conditions. The existence of such inequities is one reason why communities of
              color, including African American people, are more likely to have some of the
              underlying health conditions that put them at greater risk with COVID-19. 48

              62.      Similarly, Virginia Health Commissioner Norman Oliver has acknowledged that

   racial inequalities render African-American Virginians particularly vulnerable to COVID-19,

   noting that lack of access to health care in African-American communities contributes “to much

   higher disease burden, with twice the rate of diabetes, hypertension, obesity,” resulting in

   “underlying problems [that] then place these folks at higher risk of mortality from COVID-19.”

   Health Commissioner Oliver further noted that African Americans in Virginia more frequently

   “tend to be concentrated in the essential industries and are working,” with “less social

   distancing . . . and less opportunity for teleworking.” 49 And Dr. Winn of VCU has noted that, in

   comparison to their white counterparts, African American Virginians lack access to healthcare

   and information, suffer from underlying health conditions, and are more likely to hold “essential

   jobs” and cannot work from home. 50

              63.      Virginia has a long history of racial discrimination in a wide range of areas in

   socioeconomic life, including in voting.



   48
     Neal Augenstein, Virginia governor seeks more data on how COVID-19 affects minorities, WTOP (Apr. 9, 2020),
   https://wtop.com/virginia/2020/04/virginia-governor-seeks-more-data-on-how-covid-19-affects-minorities/.
   49
        Id.
   50
        See supra n. 46 (Fultz).


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   Virginia’s Absentee Voting Process and Witness Requirement

           64.      Virginia law sets out certain categories of individuals who may vote by mail

   ballot, known in Virginia as absentee voting. These categories include people absent from the

   jurisdiction on Election Day including students, service members on active duty, a person with a

   disability unable to vote in person because of “disability, illness, or pregnancy,” people

   prevented from voting on Election Day due to religious observance, and several other categories.

   Va. Code § 24.2-700.

           65.      During the 2020 legislative session, the Virginia General Assembly passed and

   the Governor signed a number of voting reforms, including an expansion of absentee voting to

   make all registered voters eligible to use this process without an excuse. 51 This takes effect July

   1, 2020.

           66.      Nonetheless, as previously noted, the Department of Elections has published

   informal guidance on their website providing that voters may apply for and submit an absentee

   ballot for the May and June elections by choosing reason “2A My disability or illness” due to

   COVID-19.

           67.      On June 23, 2020, Virginia will hold Democratic and Republican primaries for

   federal offices. Republicans have a statewide primary for a U.S. Senate seat as well as primaries

   in Virginia’s Second and Third congressional districts. Meanwhile, Democrats have primaries

   for House races in the First, Fourth, Fifth, and Eleventh congressional districts.




   51
     See 2020 Va. H.B. 1, available at https://lis.virginia.gov/cgi-bin/legp604.exe?201+ful+HB1ER; Press Release,
   Officer of the Governor, “Governor Northam Signs Sweeping New Laws to Expand Access to Voting” (Apr. 12,
   2020), https://www.governor.virginia.gov/newsroom/all-releases/2020/april/headline-856055-en.html.


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          68.     Absentee ballot applications submitted by mail for these races must be received

   by the appropriate registrar no later than June 16 at 5 PM. Va. Code § 24.2-701(B)(2).

   Completed absentee ballots must be returned to the registrar by the close of polls on Election

   Day. Va. Code § 24.2-709.

          69.     Individuals may request an absentee ballot online or by sending in a mail request,

   among other methods. When applying, individuals must sign the application “subject to felony

   penalties for making false statements” that the “facts contained in the application are true and

   correct” and that they “will not vote in the election at any other place in Virginia or in any other

   state.” Va. Code § 24.2-701(B)(1). An exception exists for individuals who cannot sign due to

   disability, in which case “a person assisting the applicant will note this fact on the applicant

   signature line and provide his signature, name, and address.” Id.

          70.     When a registrar receives an absentee ballot application and verifies that the

   individual properly competed the application and that they are a registered voter in the

   jurisdiction, the registrar mails to the individual the following items:

                  a. A sealed envelope containing the unmarked ballot;

                  b. An envelope for resealing the marked ballot on which is printed a “Statement

                      of Voter,” as well as spaces for the voter to sign and date and for a witness to

                      sign. The “Statement of Voter” informs voters, among other things, that their

                      signature certifies “subject to felony penalties for making false statements,”

                      their name, legal residence, that they received the ballot after requesting it,

                      that they opened the ballot envelope “in the presence of the witness” but

                      without assistance, that they sealed the ballot in the envelope, and that they

                      “have not voted and will not vote in this election at any other time or place”;

                                                        24
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                  c. “A properly addressed envelope for the return of the ballot to the general

                      registrar by mail or by the applicant in person”; and

                  d. “Printed instructions for completing the ballot and statement on the envelope

                      and returning the ballot.” Va. Code § 24.2-706.

          71.     As noted by the instructions, when voters receive their mailed absentee ballots,

   they “shall, in the presence of a witness, (i) open the sealed envelope marked ‘ballot within’ and

   (ii) mark and refold the ballot . . . without assistance and without” indicating how they marked

   the ballot. Va. Code § 24.2-707(A).

          72.     Once voters fill out their ballots, they “shall (a) enclose the ballot in the envelope

   provided for that purpose, (b) seal the envelope, (c) fill in and sign the statement printed on the

   back of the envelope in the presence of a witness, who shall sign the same envelope, (d) enclose

   the ballot envelope and any required assistance form within the envelope directed to the general

   registrar, and (e) seal that envelope and mail it to the office of the general registrar or deliver it

   personally to the general registrar.” Id.

          73.     When the absentee ballot process counting begins, election officers examine each

   absentee ballot envelope to determine whether to accept the ballot for counting. The relevant

   statute provides that an absentee ballot may not be rejected on the basis that the voter failed to

   provide a middle name, middle initial, or the date, Va. Code § 24.2-711, but is silent as to

   whether an absentee ballot may or must be rejected if the voter failed to provide any of the other

   parts of the absentee ballot envelope, such as the witness signature.

          74.     However, under regulations promulgated by the Board, the lack of a witness

   signature on the absentee ballot envelope is an omission that is “always material” and that

   renders the ballot invalid. 1 Va. Admin. Code 20-70-20(B).

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           75.     By contrast, absentee ballots that do contain a witness signature are not rendered

   invalid if the witness signature is illegible, even though there is no requirement that the witness

   print their name or otherwise identify themselves anywhere on the ballot envelope.

           76.     Virginia statutes and regulations provide no process by which voters may correct

   any errors on their absentee ballot envelopes after they are mailed to the general registrar, and in

   practice, all absentee ballots lacking a witness signature are rejected as a matter of course

   without any effort to verify whether the absentee ballot came from the intended voter. Voters

   whose ballots are rejected because of a lack of a witness signature do not learn of this until after

   the election, when the electoral board “send[s] a written explanation of the reason for rejection of

   an absentee ballot to the voter whose absentee ballot is rejected within 90 days of the date on

   which the ballot is rejected.” Va. Code § 24.2-711.1(B).

   Virginia’s witness requirement will deny large numbers of Virginians the right to vote yet
   provides only marginal benefits for election integrity

           77.     As just noted, election officials currently have no discretion under the regulations

   promulgated by the Board as to whether to count an unwitnessed absentee ballot—they must

   reject such a ballot and are only obligated to inform the voter as such within 90 days after the

   ballot rejection.

           78.     Yet in the current pandemic, individuals living alone and not isolating with a

   potential witness in accordance with Executive Orders No. 53 and 55 have no safe means to have

   an individual witness and sign their ballot envelope. Under the Governor’s orders, individuals

   should maintain at least six feet of distance from others with whom they do not live. These

   orders also reflect the consensus of doctors and public health officials.

           79.     Older Virginians and those with certain preexisting medical conditions face even

   more grave risks by interacting with another individual to obtain a witness signature. But
                                                        26
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   because COVID-19 can strike and kill individuals of any age and those without preexisting

   conditions, any individual living alone faces a real risk by seeking someone to witness their

   ballot.

             80.    Enforcing the witness requirement in an environment in which COVID-19 is still

   being transmitted will likely prevent thousands of eligible Virginians from casting ballots.

             81.    As of March 31, 2020, Virginia had over 5.73 million registered voters. In the

   June 2018 Democratic and Republican primaries, over 541,000 Virginians cast ballots. And in

   the November 2016 general election, over 3.98 million Virginians cast ballots. While many of

   these individuals voted in-person, the combination of the COVID-19 outbreak, the loosening of

   absentee voting excuse requirements, and the examples from states like Wisconsin—where

   absentee ballot requests were five times higher in this year’s primary than in the 2016

   primary52—indicate that voting by mail will explode in Virginia this year.

             82.    According to 2018 Current Population Survey (“CPS”) statistics from the Census

   Bureau, 53 25.3% of Virginians age 18 and older live alone. Assuming similar numbers in the

   2020 June primaries, over 136,000 Virginians will face the choice of either risking their health

   by voting in person or finding a witness for their absentee ballots, or not voting at all. For the




   52
     Compare Absentee Ballot Report - April 7, 2020 Spring Election and Presidential Preference Primary, Wisc.
   Election Comm’n, https://elections.wi.gov/node/6833 (reporting over 1.28 million absentee ballots requested for
   April 7, 2020 primary) with Riley Vetterkind, Absentee ballot requests in Wisconsin already exceed number in
   recent spring elections, WISC. STATE JOURNAL (Mar. 18, 2020), https://madison.com/wsj/news/local/govt-and-
   politics/absentee-ballot-requests-in-wisconsin-already-exceed-number-in-recent-spring-elections/article_dfb34fc5-
   6aa8-5428-90c3-26c3f82a1d70.html (noting that just under 250,000 absentee ballots were requested for spring 2016
   Wisconsin primary).
   53
     2018 Current Population Survey, U.S. Census Bureau, statistics accessed by using the Census Bureau Current
   Population Survey Table Creator tool at https://www.census.gov/cps/data/cpstablecreator.html..


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   general election, over a million Virginians will fall into this category. Like the individual

   Plaintiffs, many of them will be forced to risk their (and others’) health in order to vote.

           83.      To make matters worse, this burden on the right to vote will fall more heavily

   upon certain groups—older Virginians, Virginians with disabilities, and African American

   Virginians, among others.

           84.      Approximately 33% of Virginians age 65 and older live alone compared to 25.3%

   of the general population. 37.2% of Virginians 18 and older with a disability live alone and 44%

   of Virginians aged 65 and older with a disability live alone. 31% of African American Virginians

   18 and older live alone versus only 24.7% of white Virginians 18 and older.

           85.      As noted above, older individuals already face higher rates of infection and death

   from COVID-19, further magnifying its impact. And the CDC has found that “some people with

   disabilities might be at a higher risk of infection or severe illness because of their underlying

   medical conditions.” 54

           86.      Recent evidence also revealed racial disparities in the impact of COVID-19—

   disparities that will also likely transfer to burdens on voting. While Virginia is not yet fully

   collecting COVID-19 data by race, both Maryland and North Carolina have released data

   showing that African Americans face higher rates of both infection and death from COVID-19

   than the population as a whole. 55




   54
     Centers for Disease Control and Prevention, People Who Need Extra Precautions: People with Disabilities,
   https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-with-disabilities.html (last visited Apr.
   15, 2020).
   55
     North Carolina Department of Health and Human Services, COVID-19 Cases in North Carolina By Race,
   https://www.ncdhhs.gov/divisions/public-health/covid19/covid-19-nc-case-count#by-race/ethnicity (last visited Apr.
   15, 2020); Fenit Nirappil et al., Record set for single-day covid-19 deaths in D.C., Maryland and Virginia at 53;
   black residents hit hardest, WASH POST (Apr. 9, 2020, 3:47 PM), https://www.washingtonpost.com/local/covid-19-

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           87.     Virginia’s witness requirement will therefore likely prevent tens of thousands of

   Virginians who might otherwise cast absentee ballots from doing so this year, with a

   disproportionate impact on older Virginians, Virginians with a disability, and African American

   Virginians.

           88.     The witness requirement is particularly burdensome for African Americans in

   Virginia, who, as noted, are more likely to live alone and thus will be more likely to risk

   exposure to COVID-19 in the course of obtaining a witness signature. African Americans in

   Virginia continue to bear the effects of discrimination in areas such as education, employment,

   and health, which hinder their ability to participate effectively in the political process. It is

   precisely because of these patterns that African Americans in Virginia face particularly severe

   health risks from COVID-19 exposure. In these circumstances, the witness requirement interacts

   with these conditions to deny African Americans in Virginia an equal opportunity to participate

   in the political process.

           89.     While protecting election integrity and preventing improper use of absentee

   ballots certainly are valid governmental interests, maintaining the witness requirement during

   this pandemic fails to even serve this interest, let alone present a narrowly tailored method of

   doing so. And to the extent it does serve these or any other governmental interests, it is

   substantially outweighed by its massive burden on Virginia voters and other Virginia procedures

   that serve the same interests.

           90.     The witness requirement is not Virginia’s sole method of policing the integrity of

   absentee ballots—far from it. Indeed, only 10 other states even contain such a requirement in


   deaths-hit-new-high-in-dc-maryland-and-virginia-at-53-black-residents-hit-hardest/2020/04/09/cc85cd14-77b3-
   11ea-b6ff-597f170df8f8_story.html.


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   their state laws yet the states without this requirement still have absentee balloting systems not

   undermined by fraud. 56

           91.      Meanwhile, Virginia has several other mechanisms to both confirm the legitimacy

   of the absentee ballot cast and disincentivize fraudulent use of absentee ballots.

           92.      For one, the general registrar maintains a list of voters who applied for and

   returned absentee ballots, and that list is attested to by the secretary of the electoral board and

   delivered to the chief officer of election for each precinct. Absentee ballots are only accepted

   “from voters whose names appear on the attested list.” Va. Code § 24.2-710.

           93.      Most directly, voters themselves must attest under penalty of perjury their

   identity, residence, and that they did not double vote when they sign their ballot envelope. Va.

   Code § 24.2-706.

           94.      Any individual who double votes or otherwise improperly uses an absentee ballot

   faces severe criminal penalties for violating their attestation: “Any person who intentionally

   (i) votes more than once in the same election . . . is guilty of a Class 6 felony.” Va. Code § 24.2-

   1004(B).

           95.      Additionally, any “willfully false material statement or entry made by any person

   in any statement, form, or report required by this title shall constitute the crime of election fraud

   and be punishable as a Class 5 felony.” Va. Code § 24.2-1016.




   56
     See Chart, “Verifying Authenticity of Absentee/Mailed Ballots,” Voting Outside the Polling Place: Absentee, All-
   Mail and other Voting at Home Options, Nat’l Conf. of State Legislatures (Apr. 3, 2020),
   https://www.ncsl.org/research/elections-and-campaigns/absentee-and-early-voting.aspx.


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           96.     And “[a]ny person attempting to vote by fraudulently signing the name of a

   qualified voter shall be guilty of forgery and shall be guilty of a Class 4 felony.” Va. Code

   § 24.2-1012.

           97.     In light of these attestation and verification requirements and criminal penalties

   associated with misusing absentee ballots, the additional step of requiring a witness signature

   adds little on top of these safeguards. And while instances of fraud are rare, an individual

   determined to break these laws and risk the penalties can just as easily forge the signature of

   another individual as they can falsely attest when they sign their own name. Indeed, the witness

   requirement has little if any practical utility for election integrity because Virginia law does not

   require witnesses to identify themselves by printing their name or providing any other

   information and Board regulations instruct election officials to accept ballots even where the

   witness signature is illegible.

           98.     The burden on the voting rights of the many thousands of Virginians, including

   Plaintiffs, who will be prevented from either casting their ballots safely or having them counted

   by retaining the witness requirement far outweighs any upside of the requirement, if any.

                                           CLAIMS FOR RELIEF

                                                  COUNT I
                                 Violation of the Fundamental Right to Vote
                 42 U.S.C. § 1983, First and Fourteenth Amendments to the U.S. Constitution

           99.     Eligible individuals have a fundamental right to vote under the First and

   Fourteenth Amendments of the United States Constitution. Under the First and Fourteenth

   Amendments, a court considering a challenge to a state election law must carefully balance the

   character and magnitude of the injury to the rights that the plaintiff seeks to vindicate against the




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   justifications put forward for the burdens imposed by the rule. See Burdick v. Takushi, 504 U.S.

   428, 434 (1992); Anderson v. Celebrezze, 460 U.S. 780, 789 (1983).

          100.    In light of the COVID-19 pandemic, Virginia’s witness requirement and its

   enforcement severely and unreasonably burdens the fundamental right to vote of Virginia voters.

   This requirement will likely prevent thousands of eligible Virginians from casting ballots, with

   particularly heavy burdens on older Virginians, Virginians with disabilities, and African

   American Virginians.

          101.    And while Virginia has a general interest in election integrity, the witness

   requirement does very little to advance this interest in light of the substantial other protections

   against fraudulent submission of ballots, let alone providing a narrowly tailored way to address

   this potential issue. Whatever interests the witness requirement may serve pales in comparison to

   the substantial burden on voters during the COVID-19 pandemic.

          102.    Therefore, Defendants, acting under color of state law, have and will continue to

   deprive Plaintiffs of rights secured to them by the First and Fourteenth Amendments to the

   United States Constitution— namely, the fundamental right to vote—and protected by 42 U.S.C.

   § 1983 by enforcing the witness requirement.

                                                 COUNT II
                    Violations of Section 2 of the Voting Rights Act, 52 U.S.C. § 10301

          103.    Section 2 of the Voting Rights Act provides in part that “[n]o voting qualification

   or prerequisite to voting or standard, practice, or procedure shall be imposed or applied by any

   State . . . in a manner which results in a denial or abridgement of the right of any citizen of the

   United States to vote on account of race or color.” 52 U.S.C. § 10301(a).

          104.    The “essence of a [Section] 2 claim is that a certain electoral law, practice, or

   structure interacts with social and historical conditions to cause an inequality in the opportunities
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   enjoyed by black and white voters to elect their preferred representatives.” League of Women

   Voters of N.C. v. North Carolina, 769 F.3d 224, 238–39 (4th Cir. 2014) (internal quotation marks

   and citation omitted). “[A] Section 2 vote-denial claim consists of two elements:

           First, the challenged standard, practice, or procedure must impose a discriminatory
           burden on members of a protected class, meaning that members of the protected class
           have less opportunity than other members of the electorate to participate in the political
           process and to elect representatives of their choice.

           Second, that burden must in part be caused by or linked to social and historical conditions
           that have or currently produce discrimination against members of the protected class.

   Id. at 240 (internal quotation marks and citations omitted).

           105.   The witness requirement, if not declared illegal and enjoined, will materially

   burden the right to vote, and will have an adverse and disparate impact on African-American

   voters in Virginia. African Americans in Virginia are more likely to suffer from severe health

   complications and to die from COVID-19, and are therefore more significantly burdened by the

   witness requirement.

           106.   This disparate burden resulting from the witness requirement is directly linked to

   social and historical conditions. Virginia has a long history of voting-related discrimination.

   African Americans in Virginia continue to suffer from discrimination in areas such as education,

   employment, and health, which hinders their ability to participate effectively in the political

   process. In particular, these discriminatory patterns render African Americans more vulnerable to

   COVID-19, such that the witness requirement is particularly burdensome for them as a group

   relative to other voters.

           107.   Under the totality of the circumstances, the witness requirement interacts with

   these social and historical conditions to abridge and deny African Americans in Virginia the right

   to vote. As a result of the witness requirement, African Americans in Virginia will have less

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   opportunity than other members of the electorate to participate in the political process and to

   elect representatives of their choice.

                                            RELIEF REQUESTED

          WHEREFORE, Plaintiffs respectfully requests that this Court:

          A. Declare that Virginia’s enforcement of the witness requirement (as stated in Va. Code

               § 24.2-706 and § 24.2-707 and as interpreted by 1 Va. Admin. Code 20-70-20(B))

               while emergency orders by Virginia or federal authorities regarding COVID-19

               transmission are in effect and/or while public health officials continue to recommend

               social distancing practices due to risk of community transmission of COVID-19

               violates the fundamental right to vote under First and Fourteenth Amendments to

               United States Constitution as well as Section 2 of the Voting Rights Act;

          B.      Issue a preliminary and permanent injunction that orders relief including:

                  1.   Prohibiting Defendants from enforcing the witness requirement (as stated in

                       Va. Code § 24.2-706 and § 24.2-707 and as interpreted by 1 Va. Admin. Code

                       20-70-20(B)) for all voters, especially for voters at risk of health

                       complications arising from COVID-19 exposure, while emergency orders

                       concerning COVID-19 are in place and/or while public health officials

                       continue to recommend social distancing practices due to risk of community

                       transmission of COVID-19;

                  2. Ordering Defendants to issue guidance instructing city and county election

                       officials to count otherwise validly cast absentee ballots that are missing a

                       witness signature for Virginia’s primary and general elections in 2020; and



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                    3. Ordering Defendants to conduct a public information campaign informing

                       Virginia voters about the elimination of this requirement, in coordination with

                       city and county election officials;

          C.        Award Plaintiffs attorneys’ fees in this action;

          D.        Award Plaintiffs their costs of suit; and

          E.        Grant such other and further relief as this Court deems just and proper in the

   circumstances.


   Dated: June 29, 2020                                Respectfully submitted,

                                                       /s/ Vishal Agraharkar__
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